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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR15-348-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   MARLEN RAVELO,                       )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Controlled Substances; Forfeiture Allegations

15 Date of Detention Hearing:     June 14, 2016.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant is charged by Indictment with the above-referenced drug trafficking



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01 offense. She was initially arrested in the District of Montana, where she had been previously

02 charged, convicted, and sentenced on drug charges in that state. At her initial appearance in the

03 instant matter, the AUSA indicated that a change of plea was likely.

04          2.     Defendant was not interviewed by Pretrial Services and much of her background

05 information is unknown or unverified. She does not contest detention at this time.

06          3.     Defendant poses a risk of nonappearance due to lack of information about her

07 personal background and ties to this District. She also has a prior failure to appear and an

08 outstanding warrant. Defendant poses a risk of danger due to criminal history.

09          4.     There does not appear to be any condition or combination of conditions that will

10 reasonably assure the defendant’s appearance at future Court hearings while addressing the

11 danger to other persons or the community.

12 It is therefore ORDERED:

13      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

14          General for confinement in a correction facility separate, to the extent practicable, from

15          persons awaiting or serving sentences or being held in custody pending appeal;

16      2. Defendant shall be afforded reasonable opportunity for private consultation with

17          counsel;

18      3. On order of the United States or on request of an attorney for the Government, the

19          person in charge of the corrections facility in which defendant is confined shall deliver

20          the defendant to a United States Marshal for the purpose of an appearance in connection

21          with a court proceeding; and

22      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel



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01       for the defendant, to the United States Marshal, and to the United State Pretrial Services

02       Officer.

03       DATED this 14th day of June, 2016.

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05                                                     A
                                                       Mary Alice Theiler
06                                                     United States Magistrate Judge

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